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WDMI Corporate Disclosure Statement pursuant to Fed.R. Civ. P. 7.1 or Fed. R. Crim. P. 12.4 (4/06)

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MICHIGAN

Herman Miller, Inc.

Plaintiff(s), Case No, 1:16-cv-01000-RJJ-RSK

Gold Leaf Holding, Ltd., d/b/a Rove Concepts Concepts, a Canadian corporation,
Defendant(s).

 

DISCLOSURE OF CORPORATE AFFILIATIONS AND FINANCIAL INTEREST

wo Gold Leaf Holding, Ltd., d/b/a R Concepts, a Canadian ration,
Pursuant to Federal Rule of Civil Procedure 7.1, oe "a a irove WOncepls, alvanadian core

 

(Party Name)
makes the following disclosure:

1. Is party a publicly held corporation or other publicly held entity? | ]Yes No

2. Does party have any parent corporations? [ ]Yes No
If yes, identify all parent corporations, including grandparent and great-grandparent
corporations:

3. Is 10% or more of the stock of_party owned by a publicly held corporation or other
publicly held entity? [ _|Yes No
If yes, identify all such owners:

4. \s there any other publicly held corporation or other publicly held entity that has a direct
financial interest in the outcome of the litigation? | _]Yes [| No
If yes, identify entity and nature of interest:

ate: October 21, 2016 a

(Signature)
Thomas G. Pasternak

 

 
